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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   WESTERN DIVISION


  In re
                                                      Chapter 7
  SARAH HUBERTY,
                                                      Case No. 18-30374-EDK
  Debtor




                                   ORDER ON
                 TRUSTEE'S MOTION FOR ORDER APPROVING PRIVATE
                        SALE OF PROPERTY OF THE ESTATE

                   (30 CROSS STREET, WESTFIELD, MASSACHUSETTS)




       This matter having come before the Court upon the motion and notice of Trustee's intent to

sell property of the estate, free and clear of liens and encumbrances ("Motion"), specifically to sell

the estate's right, title and interest in real estate located at 30 Cross Street, Westfield, Massachusetts,

in a deed recorded in the Hampden County Registry of Deeds at Book 14578, Page 565 (the

"Property"), free and clear of all liens, claims, mortgages, security interests, charges, encumbrances,

and other interests, to Kenneth Byron Beagle and Kate Marie Malloy (the "Purchasers") or their

nominee; and the Court finding that notice has been properly given to parties in interest; and

Webster Bank, N.A. having withdrawn its objection to the Motion, and no other objections or

higher bids having been timely made; and the Court conducting a hearing on August 29, 2019 and

finding that the sale, on the terms described in the Motion is appropriate; and the Court finding that

the Purchasers are good faith purchasers, as that term is used in §363(m) of the Bankruptcy Code,

and entitled to the protections provided such sections:



       The Court finds that the Motion constitutes a core proceeding, pursuant to 28 U.S.C.
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§157(b)(2)(M), and that it has jurisdiction over this matter pursuant to 28 U.S.C. §1334. The Court

further finds that the sale is authorized under 11 U.S.C. §363(b) and (f).



       IT IS ORDERED that the Trustee's Motion shall be and hereby is allowed, and the Trustee is

hereby authorized to sell the estate's interest in the Property to the Purchasers or their nominee, for

the sum of $118,700.00, plus a “buyer’s premium”, so-called, of $8,000.00. The Property is being

sold without recourse, and "as is, where is".



       IT IS FURTHER ORDERED that such sale shall be free and clear of all liens and

encumbrances, including but not limited to the mortgage currently held or serviced by Bank of

America, recorded in the Hampden County Registry of Deeds at Book 16453, Page 484, with valid

liens to attach to the proceeds in their order of priority. If the Purchasers do not complete the sale,

the deposit of $3,000.00 may be forfeited.



       IT IS FURTHER ORDERED that the Trustee is authorized to make the following

distributions from the proceeds of the sale: to real estate taxes and municipal charges, ordinary

closing costs, insurance premiums incurred by the Trustee, any maintenance expenses associated

with the Property, the broker's commission of $6,180.00 (which includes the fee payable to BK

Global Real Estate Services, LLC), the buyer’s premium of $8,000.00 to be retained by the Trustee,

from which the Trustee's administrative expenses will be paid, and the remainder to Bank of

America. The proceeds held by the Trustee will be held subject to any other existing liens and

encumbrances, if any, to the extent of their amount, perfection and priority, pending further order of

the Court; provided, however, that to the extent it is determined that any party has a perfected lien

upon the Property, the fees and expenses incurred by the Trustee in connection with the sale of the
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Property, constitute reasonable and necessary expenses of preserving and disposing of the Property,

and may be recovered from the proceeds of the sale, pursuant to 11 U.S.C. §506(c).

       The 14 day stay in Bankruptcy Rule 6004(h) is hereby vacated.



       Dated this ______ day of August, 2019.


                                            __________________________________
                                            ELIZABETH D. KATZ
                                            Bankruptcy Judge


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